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                                                      UNITED STATES DISTRICT COURT
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                                                           DISTRICT OF NEVADA
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                                                                        2:12-CR-114 JCM (VCF)
                  8      UNITED STATES OF AMERICA,

                  9                      Plaintiff,
                10       v.
                11
                         BEN KIM and LISA KIM,
                12
                                         Defendants.
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                14                                                   ORDER
                15            Presently before the court is the parties’ unopposed motion to unseal and consolidate the
                16     above-entitled criminal action with the matter captioned United States of America v. Alcantar, et al.,
                17     case no. 2:12-cr-00113-JCM-VCF.
                18            Good cause being shown and the parties being in agreement,
                19            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the motion to unseal and
                20     consolidate (doc. #2) be, and the same hereby is, GRANTED.
                21            IT IS THEREFORE ORDERED that this case, and all future proceedings, be unsealed.
                22            IT IS FURTHER ORDERED that case number 2:12-cr-00113-JCM-VCF and 2:12-cr-00114-
                23     JCM-VCF be consolidated for purposes of changes of plea and sentencing.
                24            DATED May 4, 2012.
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                                                              UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge
